           Case 24-30024 Document 9 Filed in TXSB on 01/10/24 Page 1 of 1
                                                                                                   United States Bankruptcy Court
                                                                                                       Southern District of Texas

                                                                                                          ENTERED
                        IN THE UNITED STATED BANKRUPTCY COURT                                           January 10, 2024
                          FOR THE SOUTHERN DISTRICT OF TEXAS                                           Nathan Ochsner, Clerk
                                    HOUSTON DIVISION

IN RE:                                                    §
                                                          §        CASE NO: 24-30024
HUGH P. SHANNONHOUSE,                                     §
                                                          §
          Debtor.                                         §
                                                          §
                                                          §        CHAPTER 11

                                                  ORDER
                                              TO SHOW CAUSE

       Based on this Court’s review of the petition, the Court finds that Troy J. Wilson’s,
(“Debtor’s counsel”) Federal admissions has expired.1 It is therefore:

         ORDERED that Debtor’s counsel, appear at an electronic hearing scheduled for February 1,
2024, at 10:00 a.m., to be held before the United States Bankruptcy Court, Houston Division, at
which time Debtor’s counsel must update the Court on the status of his Federal admission to the
District Court.

       Pursuant to Bankruptcy General Order 2021-05 parties may either appear electronically or in
person unless otherwise Ordered by this Court.

       To participate electronically, parties must follow the instructions set forth on Judge
Rodriguez’s web page located at: https://www.txs.uscourts.gov/content/united-states-
bankruptcy-judge-eduardo-v-rodriguez. Parties are additionally instructed to: (i) call in
utilizing the dial-in-number for hearings before Judge Rodriguez at 832-917-1510,
conference room number 999276 and (ii) log on to GoToMeeting for video
appearances and witness testimony, utilizing conference code: judgerodriguez.
Parties MUST HAVE TWO SEPARATE DEVICES to appear by video and
telephonically. One device will be used to log on to GoToMeeting and the other
will be used to call the telephonic conference line.

          SIGNED January 10, 2024



                                                                  ________________________________
                                                                          Eduardo V. Rodriguez
                                                                   Chief United States Bankruptcy Judge


1 Id.; see Southern District of Texas Local Rule LR83.1(K) (“A lawyer who is not admitted to practice before this
Court may appear as attorney-in-charge for a party in a case in this Court with the permission of the judge before
whom the case is pending.”).
